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                  IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS
                           WESTERN DIVISION



UNITED STATES OF AMERICA                                              PLAINTIFF


vs.                             4:13CR00148-006 SWW
                                4:14CR00165-001 SWW

MANUEL GARZA                                                          DEFENDANT
(USM custody)


                                        ORDER

      Due to a conflict on the Court’s calendar, the sentencing hearing scheduled FRIDAY,

FEBRUARY 13, 2015 at 1:00 P.M. has been rescheduled for 3:00 P.M.

      IT IS SO ORDERED this 4th day of February 2015.



                                               /s/Susan Webber Wright
                                               UNITED STATES DISTRICT JUDGE
